      Case 8:19-cr-00348-WFJ-AAS Document 1 Filed 08/13/19 Page 1 of 7 PageID 1
9.
                                                                       '^fLEO
                        UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA ^Oj9AUG-«3 P'' -
                                    TAMPA DIVISION


                                                                    tAHPA. FLORIoT
     UNITED STATES OF AMERICA

     V.                                            CASENO.           cv-3H'2>T°'2-A^S
     LUIS ARNOBIO DEL RIO-JIMENEZ,                 21 U.S.C. §§ 959 and 963
     a/k/a "Tio," a/k/a "Senor,"                   46 U.S.C.^ 70503(a), 70506(a) and (b)
     WILLIAN HERRERA-RUEDA,                        21 U.S.C. §§ 853, 881,970—Forfeiture
      a/k/a "Don Jocobo," a/k/a "William,"         46 U.S.C. § 70507—Forfeiture
     a/k/a "Flaco,"
     ALFONSO TORRES-ALZATE,a/k/a "Macario," a/k/a "El Invalido,"
     CARLOS ALBERTO ARIAS, a/k/a "Paisa,"
     ADER WILBERTO CASTILLO-CAICEDO, a/k/a "Firi,"
     MARTIN CASTILLO-QUINONES, a/k/a "Enano," a/k/a "El Viejo,"
     ALFONSO TORRES-ESTUPINAN, a/k/a "Perro Loco," a/k/a "Cascarrabias,"
      a/k/a "El Viejo,"
     LERNER ALBERTO DAZA-MARTINEZ,a/k/a "Leiner,"
     GABRIEL JAIME MARIN-MACIAS,a/k/a "Chepe,"                  ^
      a/k/a "Solin Aldru Marin-Macias," a/k/a "SolirtAldru^ RpdMuezjMasjaf,
      a/k/a "El Veterinaro/' and
     ANDERSON DEL RIO-PASOS



                                     INDICTMENT


          The Grand Jury charges:

                                      COUNT ONE


          From an unknown date, continuing through and including the date of this

 Indictment, in the Middle District of Florida and elsewhere, the defendants, ^
                                                                           /y-
           LUIS ARNOBIO DEL RIO-JIMENEZ, a/k/a "Tio," a/k/a "Senor,"
                            WILLIAN HERRERA-RUEDA,
               a/k/a "Don Jocobo," a/k/a "William," a/k/a "Flaco,"
          ALFONSO TORRES-ALZATE,a/k/a "Macario," a/k/a "El InvaUdo,"
                      CARLOS ALBERTO ARIAS, a/k/a "Paisa,"
   Case 8:19-cr-00348-WFJ-AAS Document 1 Filed 08/13/19 Page 2 of 7 PageID 2



           ADER WILBERTO CASTILLO-CAICEDO, a/k/a "Firi,"
      MARTIN CASTILLO-QUINONES, a/k/a "Enano," a/k/a "El Viejo,"
                      ALFONSO TORRES-ESTUPINAN,
          a/k/a "Perro Loco," a/k/a "Cascarrabias," a/k/a "El Viejo,"
          LERNER ALBERTO DAZA-MARTINEZ,a/k/a "Leiner,"
                     GABRIEL JAIME MARIN-MACIAS,
               a/k/a "Chepe," a/k/a "Solin Aldru Mahn-Macias,"
       a/k/a "Solin Aldrua Rodriguez-Masias", a/k/a "El Veterinaro," and
                          ANDERSON DEL RIO-PASOS


did knowingly and willfully combine, conspire and agree with other persons, known

and unknown to the Grand Jury, to distribute five(5)kilograms or more of a mixture

or substance contaiaing a detectable amount of cocaine, a Schedule II controlled

substance, knowing, intending and having reasonable cause to believe that such

substance would be unlawfully imported into the United States, in violation of

21U.S.C. §959.

      All in violation of21 U.S.C. §§ 963 and 960(b)(l)(B)(ii).

                                  COUNT TWO


      From an unknown date, continuing through and including the date of this

Indictment, in the Middle District of Florida and elsewhere, the defendants,

       LUIS ARNOBIO DEL RIO-JIMENEZ, a/k/a "Tio," a/k/a "Senor,"
                         WILLIAN HERRERA-RUEDA,
          a/k/a "Don Jocobo," a/k/a "William," a/k/a "Flaco,"
     ALFONSO TORRES-ALZATE, a/k/a "Macario," a/k/a "El Invalido,"
              CARLOS ALBERTO ARIAS, a/k/a "Paisa,"
         ADER WILBERTO CASTILLO-CAICEDO, a/k/a "Firi,"
     MARTIN CASTILLO-QUINONES, a/k/a "Enano," a/k/a "El Viejo,"
                       ALFONSO TORRES-ESTUPINAN,
           a/k/a "Perro Loco," a/k/a "Cascarrabias," a/k/a "El Viejo,"
           LERNER ALBERTO DAZA-MARTINEZ,a/k/a "Leiner,"
   Case 8:19-cr-00348-WFJ-AAS Document 1 Filed 08/13/19 Page 3 of 7 PageID 3



                       GABRIEL JAIME MARIN-MACIAS,
                a/k/a "Chepe," a/k/a "Solin Aldru Marin-Macias,"
        a/k/a "Solin Aldrua Rodriguez-Masias", a/k/a "El Veterinaro," and
                           ANDERSON DEL RIO-PASOS


did knowingly, willfully and intentionally conspire with each other and other

persons, known and unknown to the Grand Jury, to possess with intent to distribute

five(5)kilograms or more of a mixture or substance containing a detectable amount

of cocaine, a Schedule II controlled substance, while upon the high seas on board a

vessel subject to the Jurisdiction of the United States, in violation of46 U.S.C.

§§ 70503(a)and 70506(a) and (b), and 21 U.S.C. § 960(b)(l)(B)(ii).

                                   FORFEITURE


      1.     The allegations contained in Counts One and Two of this Indictment

are hereby reaUeged and incorporated by reference for the purpose of alleging

forfeitures, pursuant to the provisions of 21 U.S.C. §§ 853 and 970,46 U.S.C.

§ 70507, 21 U.S.C. § 881(a), and 28 U.S.C. § 2461(c).

      2.     Upon their convictions of any ofthe violations alleged in Count One of

this Indictment, the defendants,

       LUIS ARNOBIO DEL RIO-JIMENEZ, a/k/a "Tio," a/k/a "Senor,"
                          WILLIAN HERRERA-RUEDA,
          a/k/a "Don Jocobo," a/k/a "William," a/k/a "Flaco,"
     ALFONSO TORRES-ALZATE, a/k/a "Macario," a/k/a "El Invalido,"
              CARLOS ALBERTO ARIAS, a/k/a "Paisa,"
         ADER WILBERTO CASTILLO-CAICEDO, a/k/a "Firi,"
     MARTIN CASTILLO-QUINONES,a/k/a "Enano," a/k/a "El Viejo,"
                        ALFONSO TORRES-ESTUPINAN,
           a/k/a "Perro Loco," a/k/a "Cascarrabias," a/k/a "El Viejo,"
           LERNER ALBERTO DAZA-MARTINEZ,a/k/a "Leiner,"
                       GABRIEL JAIME MARIN-MACIAS,
                a/k/a "Chepe," a/k/a "Solin Aldru Marin-Macias,"
   Case 8:19-cr-00348-WFJ-AAS Document 1 Filed 08/13/19 Page 4 of 7 PageID 4



         a/k/a "Solin Aldrua Rodriguez-Masias", a/k/a "El Veterinaro," and
                             ANDERSON DEL RIO-PASOS


shall forfeit to the United States, pursuant to 21 U.S.C. §§ 853 and 970, all of their

right, title, and interest in:

               a.     property constituting and derived from any proceeds the
                      defendant obtained, directly or indirecdy, as the result ofsuch
                      violations; and,

              b.      property used and intended to be used in any manner or part to
                      commit or to facilitate the commission of such violations.

       3.      Upon their conviction of any of the violations alleged in Count Two of

this Indictment, the defendants,

        LUIS ARNOBIO DEL RIO-JIMENEZ, a/k/a "Tio," a/k/a "Senor,"
                             WILLIAN HERRERA-RUEDA,
           a/k/a "Don Jocobo," a/k/a "William," a/k/a "Flaco,"
      ALFONSO TORRES-ALZATE, a/k/a "Macario," a/k/a "El Invalido,"
               CARLOS ALBERTO ARIAS, a/k/a "Paisa,"
          ADER WILBERTO CASTILLO-CAICEDO, a/k/a "Firi,"
       MARTIN CASTILLO-QUINONES, a/k/a "Enano," a/k/a "El Viejo,"
                           ALFONSO TORRES-ESTUPINAN,
             a/k/a "Perro Loco," a/k/a "Cascarrabias," a/k/a "El Viejo,"
             LERNER ALBERTO DAZA-MARTINEZ,a/k/a "Leiner,"
                          GABRIEL JAIME MARIN-MACIAS,
                 a/k/a "Chepe," a/k/a "Solin Aldru Marin-Macias,"
         a/k/a "Solin Aldrua Rodriguez-Masias", a/k/a "El Veterinaro," and
                             ANDERSON DEL RIO-PASOS


shall forfeit to the United States, pursuant to 46 U.S.C. § 70507, 21 U.S.C. § 881(a),

and 28 U.S.C. § 2461(c), any and all property described in 21 U.S.C. § 881(a),

including, but not limited to:

               a.     Property furnished or intended to be furnished in exchange for a
                      controlled substance;
   Case 8:19-cr-00348-WFJ-AAS Document 1 Filed 08/13/19 Page 5 of 7 PageID 5



             b.     Property constituting, or derived from, any proceeds the
                    defendants obtained, directly or indirectly, as a result ofsuch
                    violations; and

             c.     All moneys and conveyances used, or intended to be used, to
                    commit, or to facilitate the commission of the alleged offense.

      4.     If any of the property described above as being subject to forfeiture as a

result of any act or omission of the defendants:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred, sold to, or deposited with a third party;

             c.     has been placed beyond the jurisdiction ofthe Court;

             d.     has been substantially diminished in value; or,

             e.     has been commingled with other property which cannot be
                    subdivided without difficulty.
 Case 8:19-cr-00348-WFJ-AAS Document 1 Filed 08/13/19 Page 6 of 7 PageID 6




the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c).

                                                A TRUE BILL,




                                                Foreperson

      MARIA CHAPA LOPEZ
      United States Attorney


By:
      JOSEPH K. RUDDY
      Assistant United States Attorney
      Chief, Transnational Organized Crime Section



      JOSEPHINE W.TH@jIAS
      Assistant United States Attorney
      Chief, Criminal Division
FORM OBD-34    Case 8:19-cr-00348-WFJ-AAS Document 1 Filed 08/13/19 Page 7 of 7 PageID 7
August 19                          No.

                                      UNITED STATES DISTRICT COURT
                                                Middle District of Florida
                                                     Tampa Division

                                        THE UNITED STATES OF AMERICA

                                                           vs.


                        LUIS ARNOBIO DEL RIO-JIMENEZ a/k/a "Tic," a/k/a "Senor,"
                 WILLIAN HERRERA-RUEDA,a/k/a "Don Jocobo," a/k/a "Wimam," a/k/a "Flaco"
                       ALFONSO TORRES-ALZATE, a/k/a "Macario," a/k/a "El Invalido,"
                                  CARLOS ALBERTO ARIAS, a/k/a "Paisa,"
                            ADER WILBERTO CASTILLO-CAICEDO, a/k/a "Firi,"
                       MARTIN CASTILLO-QUINONES, a/k/a "Enano," a/k/a "El Viejo,"
              ALFONSO TORRES-ESTUFINAN, a/k/a "Perro Loco," a/k/a "Cascarrabias," a/k/a "El Viejo,"
                           LERNER ALBERTO DAZA-MARTINEZ,a/k/a "Leiner,"
                GABRIEL JAIME MARIN-MACIAS,a/k/a "Chepe," a/k/a "Solin Aldru Marin-Macias,"
                        a/k/a "Solin Aldrua Rodriguez-Masias", a/k/a "El Veterinaro," and
                                            ANDERSON DEL RJO-PASOS


                                                     INDICTMENT
                    Violations: 21 U.S.C. §§ 959 and 963, and 46 U.S.C. §§ 70503(a)and 70506(a)and (b)


                                      A true bill,


                                                      Foreperson


                                      Filed in open court this 13th day of August 2019.


                                                             Clerk



                                      Bail $.

                                                                                                         GP0 863 525
